              Case 6:18-cv-01761-AA        Document 16           Filed 03/04/19   Page 1 of 2




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         Of Attorneys for Defendant
                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF OREGON
                                           EUGENE DIVISION

M. J. BURNETT,                                           Case No. 6:18-cv-01761-AA
                          Plaintiff,
                                                         JOINT ALTERNATE DISPUTE
         v.                                              RESOLUTION REPORT
NORTHWEST CHRISTIAN
UNIVERSITY,
                          Defendant.


         Pursuant to LR 16-4(d), the parties to all cases, unless exempt, are required to confer

regarding ADR and file this report within one-hundred fifty (150) days of the initiation of a

lawsuit. This report is submitted in compliance with LR 16-4(d).

         1.       Have counsel held settlement discussions with their clients and the opposing

party?             Yes           ☑ No

         If not, provide an explanation:

         2.       The parties propose: (check one of the following)

            (a) That this case be referred to a neutral of their choice for ADR not sponsored by

the court pursuant to LR 16-4(e)(1).

PAGE 1 -          JOINT ALTERNATIVE DISPUTE RESOLUTION REPORT
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             Case 6:18-cv-01761-AA        Document 16           Filed 03/04/19   Page 2 of 2




              (b) That the court refer this case to mediation using a Court-sponsored mediator or

staff mediator. (See LR 16-4(f) for Court-sponsored mediation procedures). The parties seek a

Court mediator because:

             ☑ (c) ADR may be helpful at a later date following completion of: Discovery and

dispositive motions.

              (d) The parties believe the court would be of assistance in preparing for ADR by:

              (e) The parties do not believe that any form of ADR will assist in the resolution of

this case.

              (f) Other:



        DATED: March 4, 2019.

                                        MERSEREAU SHANNON LLP


                                               s/ Karen M. Vickers
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PAGE 2 -          JOINT ALTERNATIVE DISPUTE RESOLUTION REPORT
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